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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

Edward Johnson,

Plaintiff,

CIVIL ACTION NO. 3:21-cv-84

Capital One Services, LLC,
Capital One Financial Corporation, and
Capital One, National Association,

Defendants.

JOINT STIPULATION OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Edward
Johnson and Defendants Capital One Services, LLC, Capital One Financial Corporation, and
Capital One, National Association, by and through their undersigned counsel, who together
constitute all the parties who have appeared in this action, hereby stipulate that the above-styled
action, including any and all claims raised in such action, have been fully resolved, and this
matter be dismissed with prejudice, with the Court retaining jurisdiction to resolve any disputes
concerning the terms of the settlement agreement pursuant to Kokkonen v. Guardian Life
Insurance Co., 511 U.S. 375 (1994).

SO ORDEKED

We Ask for this:

EDWARD JOHNSON

Isf
Plaintiff M. Hannah Lauck
United States District Judge

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